TRAILS CAROLINA MEDIA STATEMENT: FEB. 8, 2024

Response to Transylvania County Sheriff’s Office Press Release
Dated Feb. 3, 2024, distributed Feb. 7, 2024

A young person’s life was tragically lost on Feb. 3, 2024. Our priority since that day has been to acknowledge and
respect the unfathomable impact on this family’s life and maintain the integrity of the investigation into the cause.

The family and their son deserve nothing less than a thorough, professional, fact-based investigation by law
enforcement, other government agencies, and our program. Speculation before the full results of these
investigations are available is harmful, counterproductive, and irresponsible. Those spreading information that is
not true or misleading will be publicly identified and held accountable, as we continue to communicate the facts
and truth.


The Transylvania County Sheriff’s Office press release distributed to the media on Feb. 7, 2024, does not present
an accurate account of the facts nor the current state of the investigation. Here are the facts:

    1. Trails staff initiated life-saving efforts and called EMS and the sheriff, and our staff have fully cooperated
       with the local law enforcement’s investigation, voluntarily presenting themselves for interviews with law
       enforcement and other related public agencies. Any assertion to the contrary is false, reckless, and
       defamatory. No other students were involved in any way, and all students were moved immediately so as
       to minimize the impact on them. Our students have cooperated to the extent authorized by their parents.

    2. Trails has not been made aware of any suspicious preliminary findings by the medical examiner.
       Conversations with detectives and public agency personnel, interviews with staff, and preliminary reports
       indicate that this was an accidental death.

    3. Trails has conducted an internal investigation of this incident and the Trails facility has been investigated
       by outside professionals who are subject-matter experts. Both investigations have concluded that there is
       no evidence that Trails failed to properly supervise, no evidence that Trails caused harm, and no evidence
       that conditions at Trails were unsafe or unhealthy.

    4. As with most deaths outside a medical facility, an autopsy is being performed by the North Carolina
       medical examiner and, while the final report has not yet been released, the preliminary findings do not
       suggest that there is any evidence of foul play.

    5. We continue to work with CPS to make the best decisions regarding staff in the immediate term.

    6. Speculation of any kind is inappropriate and disrespectful to the family. We ask that speculations cease
       and the family be allowed to grieve without further interference by those seeking to capitalize on a child’s
       death in order to advance an agenda.




TRAILS CAROLINA MEDIA STATEMENT: FEB. 6, 2024

We are shattered by the tragic loss of a young life and our deepest sympathies are with the student’s family and
loved ones. Our priority is to acknowledge and respect the unfathomable impact on their lives and maintain the
integrity of the investigation into the cause.

There are few details available at this time, only that at approximately 8 a.m. on Feb. 3, staff called 911 when a
12-year-old student did not respond to attempts to wake him. The student, who enrolled on Friday, Feb. 2, could
not be resuscitated by emergency personnel.



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We are cooperating fully with investigators and have retained outside professionals to assist us in conducting our
intemal investigation.
While we understand the need and value of keeping the public informed, protecting the family's privacy and the
privacy and wel being of our students and staf is our primary concen. During this highly sensitive time and
dificult time, please refer any queries directly to our media relations team
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Trails Carolina Background
    «Trails Carolina is a icensed, accredited, and oulcome:diven nature-based therapy program in Lake
        Toxaway, North Carolina. The program helps adolescents, aged 10-17-years-old, work through behavioral
        or emotional dificultes, build trusting relationships with their family and peers, and achieve academic
    «Trails Carolina pais psychological counseling with a variety of outdoor activities, including hiking,
        backpacking, camping, rock climbing and equine-assisted emotional work. To support a successful
        ransiton home. students praciic, refine and gain confidence in thelr newly acquired skis through
        real.fe exercises. Al the same time, famiy members work with a licensed therapist to develop skils that
        improve communication and support.
        The programwasfounded in 2008 andis licensed by the North Carolina Department of Health and
         Human Services and accredited byThe  Association     forExperientialEducation. te Commission      an
        Accreditation of Rehabiltaton Facilities and COGNIA for academic excellence.




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